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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      PANAMA CITY DIVISION




DALE LEE RAPER,

             Petitioner,

v.                                                   CASE NO. 5:04cv171-RH/MD

JAMES V. CROSBY, JR.,

             Respondent.

__________________________/


        ORDER DENYING CERTIFICATE OF APPEALABILITY AND
     DENYING LEAVE TO PROCEED IN FORMA PAUPERIS ON APPEAL


       Final judgment has been entered denying this petition for writ of habeas

corpus under 28 U.S.C. §2254. Petitioner has filed a notice of appeal. Under 28

U.S.C. § 2253(c)(1), however, petitioner may not appeal unless a certificate of

appealability is issued. Under Edwards v. United States, 114 F.3d 1083 (11th Cir.

1997), petitioner’s notice of appeal is deemed an application for a certificate of

appealability. The clerk has docketed petitioner’s notice of appeal as both a notice

of appeal (document 21) and as an application for a certificate of appealability

(document 23).
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         Under 28 U.S.C. § 2253(c)(2), a certificate of appealability may issue “only

if the applicant has made a substantial showing of the denial of a constitutional

right.” See Miller-El v. Cockrell, 537 U.S. 322, 336-37, 123 S. Ct. 1029, 1039-40,

154 L. Ed. 2d 931 (2003); Slack v. McDaniel, 529 U.S. 473, 483-84, 120 S. Ct.

1595, 146 L. Ed. 2d 542 (2000); Barefoot v. Estelle, 463 U.S. 880, 893, n.4, 103 S.

Ct. 3383, 77 L. Ed. 2d 1090 (1983); see also Williams v. Taylor, 529 U.S. 362,

402-13, 120 S. Ct. 1495, 146 L. Ed. 2d 389 (2000) (setting forth standards

applicable to §2254 petitions on the merits). As the Court said in Slack:


         To obtain a COA under § 2253(c), a habeas prisoner must make a
         substantial showing of the denial of a constitutional right, a
         demonstration that, under Barefoot, includes showing that reasonable
         jurists could debate whether (or, for that matter, agree that) the
         petition should have been resolved in a different manner or that the
         issues presented were “‘adequate to deserve encouragement to
         proceed further.’”


Slack, 529 U.S. at 483-84, quoting Barefoot, 463 U.S. at 893 n.4. Further, in order

to obtain a certificate of appealability when dismissal is based on procedural

grounds, a petitioner must show, “at least, that jurists of reason would find it

debatable whether the petition states a valid claim of the denial of a constitutional

right and that jurists of reason would find it debatable whether the district court

was correct in its procedural ruling.” Slack, 529 U.S. at 484.

         For the reasons set forth in the Magistrate Judge’s Report and

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Recommendation (document 13), as adopted by this court (document 18),

defendant has made no such showing, and no certificate of appealability will be

issued. In addition, for the same reasons, I find that defendant’s appeal is not taken

in good faith. I hereby certify pursuant to Federal Rule of Appellate Procedure

24(a) that defendant’s appeal is not taken in good faith and that defendant is not

otherwise entitled to proceed in forma pauperis on appeal. I thus conclude that

leave to proceed in forma pauperis should be denied. Accordingly,

         IT IS ORDERED:

         1. Defendant’s notice of appeal (document 21), deemed an application for a

certificate of appealability (see document 23), is DENIED.

         2. Leave to proceed on appeal in forma pauperis is DENIED.

         SO ORDERED this 9th day of May, 2005.

                                              s/Robert L. Hinkle
                                              Chief United States District Judge




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